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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF LOUISIANA

SHREVEPORT DIVISION

 

UNITED STATES OF AMERICA
5:19-cr-00354

VERSUS * Judge Foote
* Magistrate Judge Hornsby

(01) BRIAN SKINNER and,
(02) JONATHAN COLGIN
INDICTMENT

THE GRAND JURY CHARGES:

COUNT 1

Conspiracy

21 U.S.C. §§ 841(a)(1) and 846
Beginning on a date unknown, but at least by on or about January 1, 2016, and

continuing through to on or about May 22, 2018, in the Western District of Louisiana
and elsewhere, the defendants, Brian Skinner, Jonathan Colgin, and other
persons known and unknown to the Grand Jury, did knowingly and intentionally
conspire and agree together to distribute and to possess with the intent to distribute
anabolic steroids, a Schedule III controlled substance, without lawful authority, in

violation of Title 21, United States Code, Sections 841(a)(1) and 846.[21 U.S.C. §§

841(a)(1) and 846].
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COUNT 2
Misprision of a Felony
18 U.S.C. § 4
Beginning on a date unknown, but at least by on or about January 1, 2016, and
continuing through to June 2018, Jonathan Colgin, having knowledge of the actual
commission of a felony cognizable by a court of the United States, to wit, Possession
with Intent to Distribute Anabolic Steroids pursuant to Title 21 United States Code,
Section 841(a)(1), did conceal the same by disposing of anabolic steroids, and did not
as soon as possible make known the same to some judge or other person in civil or

military authority under the United States, all in violation of Title 18, United States

Code, Section 4. [18 U.S.C. § 4]

A TRUE BILL: DAVID C. JOSEPH
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